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                      IN THE UNITED STATES DISTRICT COURT FOR
                          THE EASTERN DISTRICT OF VIRGINIA
                                 (Newport News Division)

 JAMES T. PARKER, II, et al.          )
                                      )
        Plaintiffs,                   )
                                      )
 v.                                   )     Case No: 4:18-cv-00140
                                      )
 FREEDOM MORTGAGE                     )
 CORPORATION, et al.,                 )
                                      )
        Defendants.                   )
                                      )



         MEMORANDUM OF LAW OF DEFENDANT, FREEDOM MORTGAGE
      CORPORATION, IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT


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 Dated: September 13, 2019
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        Defendant, Freedom Mortgage Corporation (“Freedom Mortgage”), submits this

 Memorandum of Law in support of its Motion for Summary Judgment under Federal Rule of

 Civil Procedure Rule 56.

 I.     INTRODUCTION

        Plaintiffs assert claims against Freedom Mortgage for alleged violations of the Fair Credit

 Reporting Act (“FCRA”) and Real Estate Settlement Procedures Act (“RESPA”). Plaintiffs’

 claims are grounded upon allegations that Freedom Mortgage, the servicer for Plaintiffs’

 mortgage loan, failed to conduct a reasonable investigation and correct allegedly inaccurate

 information it furnished to the credit reporting agencies (the “CRAs”) regarding a delinquency

 on Plaintiffs’ mortgage loan account. Specifically, Freedom Mortgage provided information to

 the CRAs that Plaintiffs were delinquent beginning June 2017 when Plaintiffs failed to pay the

 amount required to bring their account current

                                                  Plaintiffs were delinquent at that time because

 they had failed to pay increased monthly payments beginning in early 2016 through June 2017.

 Freedom Mortgage notified Plaintiffs and their counsel in writing of the amount required to bring

 their account current as of June 2017. Plaintiff nevertheless failed to make the payments,

 remained delinquent on their account, and were accurately reported as delinquent by Freedom

 Mortgage to the CRAs.

        The Court should enter summary judgment in favor of Freedom Mortgage on Plaintiffs’

 FCRA claim because it fails as a matter of law. To prevail on this claim, Plaintiffs must prove,

 inter alia, that the information Freedom Mortgage furnished to the CRAs was factually

 inaccurate. Plaintiffs cannot do so. The undisputed facts of record demonstrate that Plaintiffs

 were delinquent due to their failure to pay the amount required to bring their account current. As
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 such, Freedom Mortgage can have no liability under the FCRA because the information it

 furnished was factually accurate. The Court should therefore enter summary judgment in favor

 of Freedom Mortgage on Plaintiff’s FCRA claims.

          Plaintiffs’ RESPA claim, which is based on allegations that Freedom Mortgage failed to

 respond to their Qualified Written Request (“QWR”) for documents and information relating to

 their account, fares no better. As a threshold matter, Freedom Mortgage provided a complete

 response to the QWR in compliance with RESPA. Second, Plaintiffs have presented no evidence

 that they sustained any harm caused by the purported RESPA violation, which mandates the

 dismissal of their claims for actual and statutory damages under the statute. Finally, Plaintiffs

 cannot show that Freedom Mortgage engaged in a “pattern or practice” of conduct, as required in

 order to recover statutory damages for a RESPA violation.

          Because there is no disputed issue of material fact, Freedom Mortgage is entitled to

 summary judgment on Plaintiff’s FCRA and RESPA claims for the reasons demonstrated below

 II.      STATEMENT OF UNDISPUTED MATERIAL FACTS

          1.       Plaintiffs are the owners of the property located at 827 Chatsworth Drive,

 Newport News, Virginia 23601.

          2.       On November 2, 2012, Plaintiffs entered into a mortgage loan (the “Loan”)

 evidenced by an Adjustable Rate Note in the amount of $178,541. Compl. at ¶13; Declaration of

 Tanya Tarver in Support of Freedom Mortgage’s Motion (“Tarver Dec.”) at ¶ 4; Declaration of

 Walter Buzzetta in Support of Freedom Mortgage’s Motion (“Buzzetta Dec.”) ¶ 3, Ex. 1 at p.

 F00554. 2


 2
   Exhibit 1 to the Buzzetta Declaration contains the relevant excerpts and exhibits from the deposition of Plaintiff,
 James T. Parker II. There are 5 deposition exhibits included in Exhibit 1 to the Buzzetta Declaration. The deposition
 exhibits immediately follow the deposition excerpts and are referenced by their bates number.




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        3.      The Adjustable Rate Note provided that interest would initially be charged at a

 yearly rate of 2.5%. Buzzetta Dec. ¶ 3, Ex. 1 at F00554. The Adjustable Rate Note further

 provided that “the interest rate I pay may change on the 1st of January, 2016, and on that day

 every 12th month thereafter.” Id. The Adjustable Rate Note further provided how interest rate

 changes could would be calculated, the limits on any changes, the effective date of each change,

 and how Plaintiffs would be provided notice of any change.

        4.      The Adjustable Rate Note expressly provided that Plaintiffs would “pay the new

 monthly payment beginning on the first monthly payment date after the Change Date until the

 amount of my monthly payment changes again. Buzzetta Dec. ¶ 3, Ex. 1 at F00555.

        5.      Plaintiffs understood that the interest rate could change annually under their Note

 when they signed it. Buzzetta Dec. ¶ 3, Ex. 1 at 65:10-14; 108:8-109:6; 110:20-111:16; Buzzetta

 Dec. ¶ 4, Ex. 2 at 16:16-17:1.

        6.      Plaintiffs admit that they were bound by the terms of the Note. Buzzetta Dec. ¶ 4,

 Ex. 2 at 29:4-8.

        7.      The Deed of Trust expressly provides:

                Funds for Escrow Items. Borrower shall pay to Lender on the day
                Periodic Payments are due under the Note, until the Note is paid in
                full, a sum (the “Funds”) to provide for payment of amounts due
                for: (a) taxes and assessments and other items which can attain
                priority over this Security Instrument as a lien or encumbrance on
                the Property; (b) leasehold payments or ground rents on the
                Property, if any; (c) premiums for any and all insurance required
                by Lender under Section 5; and (d) Mortgage Insurance premiums,
                if any, or any sums payable by Borrower to Lender in lieu of
                payment of Mortgage Insurance premiums in accordance with the
                provisions of Section 10. These items are called “Escrow Items.”

                ….

                Borrower shall pay Lender the Funds for Escrow Items unless
                Lender waives Borrower’s obligation to pay the Funds for any or



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                  all Escrow Items. Lender may waive Borrower’s obligation to pay
                  Lender Funds for any or all Escrow Items at any time. Any such
                  waiver may only be in writing.

                  ….

                  Lender shall estimate the amount of Funds due on the basis of
                  current data and reasonable estimates of expenditures of future
                  Escrow Items or otherwise in accordance with Applicable Law.

 Buzzetta Dec. ¶ 3, Ex. 1 at F00265-6 (emphasis added).

        8.        The Deed of Trust further expressly provides that: Borrower shall pay when due

 the principal of, and interest on, the debt evidenced by the Note and any prepayment charges and

 late fees due under the Note. Borrower shall also pay funds for Escrow Items pursuant to

 Section 3. Id.

        9.        Plaintiffs understood that they were responsible for paying the escrow amount,

 and that it could change over time. Buzzetta Dec. ¶ 3, Ex. 1 at 75:14-2; 123:14-22.

        10.       On December 15, 2015, Freedom Mortgage notified Plaintiffs that their monthly

 payment was increasing from $778.29 to $1,196.96, effective February 1, 2016. The $418.67

 monthly increase covered an increase in monthly escrow payments. Tarver Dec. ¶ 5, Ex. 1.

        11.       Despite the increase payment amount, Plaintiffs only sent in the prior monthly

 payment amount of $778.29 for February 2016. Tarver Dec. ¶ 6, Ex. 2; Buzzetta Dec. ¶ 3, Ex. 1

 at p. Plaintiff #000669; Buzzetta Dec. ¶ 3, Ex. 1 at 80:22-24; 81:11-15; Buzzetta Dec. ¶ 4, Ex. 2

 at 52:17-53:7.

        12.       On March 15, 2016, Freedom Mortgage notified Plaintiffs their monthly payment

 was decreasing to $888.06. This was a result of the decrease in the monthly escrow amount to

 $182.60. Tarver Dec ¶ 7, Exs. 3 and 4.




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        13.     Plaintiffs, however, continued to only pay $778.29 monthly. In fact, Plaintiffs did

 not increase their monthly payment until June 12, 2017. Tarver Dec. ¶ 9, Ex. 2; Buzzetta Dec. ¶

 3, Ex. 1 at Plaintiff #000669.

        14.     Accordingly, Plaintiffs were delinquent and in default on their account.

        15.     On December 15, 2016, Freedom Mortgage notified Plaintiffs their interest rate

 was increasing under the terms of their Note and Deed of Trust. As a result of the interest rate

 increase, the monthly payment increased from $888.06 to $908.67. Tarver Dec. ¶ 8, Ex. 5.

        16.     Again, despite the increased interest rate, Plaintiffs failed to increase their

 monthly payment. Tarver Dec. ¶ 9, Ex. 2; Buzzetta Dec. ¶ 3, Ex. 1 at Plaintiff #000669;

 Buzzetta Dec. ¶ 3, Ex. 1 at 80:22-24; 81:11-15; Buzzetta Dec. ¶ 4, Ex. 2 at 52:17-53:7; Buzzetta

 Dec. ¶ 7, Ex. 5 at p. 12.

        17.     From January 2016 to June 2017, Plaintiffs failed to pay the monthly amount due.

 Buzzetta Dec. ¶ 3, Ex. 1 at Plaintiff #000669; Buzzetta Dec. ¶ 3, Ex. 1 at 80:22-24; 81:11-15;

 155:20-156:24; Buzzetta Dec. ¶ 4, Ex. 2 at 17:25-18:8; 32:8-23; 34:17-22; 52:17-53:7.

        18.     Plaintiffs filed suit against Freedom Mortgage and credit reporting agencies in

 October 2016. At that time, Plaintiffs alleged that Freedom Mortgage had improperly reported

 Plaintiffs delinquent and violated the Fair Credit Reporting Act. Buzzetta Dec. ¶ 5, Ex. 3.




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         27.     Plaintiffs admit that their counsel never contacted Freedom Mortgage either

 directly, or through their counsel, to dispute the outstanding amount. Buzzetta Dec. ¶ 7, Ex. 5 at

 p. 3-10; Buzzetta Dec. ¶ 6, Ex. 4 at p. 6-14; Buzzetta Dec. ¶ 3, Ex. 1 at 138:9-22.

         28.     Plaintiffs admit that they have no reason to believe that this billing of an

 outstanding amount of $599.30 was inaccurate. Buzzetta Dec. ¶ 3, Ex. 1 at 130:24-131:23;

 137:4-12. Plaintiffs have no evidence that they were not in default at this time. Buzzetta Dec. ¶

 7, Ex. 5 at p. 19.

         29.     Plaintiffs did not dispute that the June 2017 payment amount was $888.06, and

 paid that amount on June 12, 2017. Buzzetta Dec. ¶ 3, Ex. 1 at Plaintiff #000672.

         30.     Plaintiffs did not dispute that the new monthly payment was $818.48, and paid

 that amount on July 12, 2017 and August 11, 2017 Buzzetta Dec. ¶ 3, Ex. 1 at Plaintiff #000672.

         31.     Plaintiffs admit that they never paid the $559.30 to bring the account current.

 Buzzetta Dec. ¶ 3, Ex. 1 at 89:8-90:1.

         32.     On August 28, 2017, Freedom Mortgage sent a monthly statement to Plaintiffs

 which confirmed their new monthly payment was $818.48. The Statement further confirmed

 that Plaintiffs were delinquent in the amount of $544.30. Tarver Dec. ¶ 10, Ex .6.




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         33.     On August 28, 2017, Freedom Mortgage sent separate notices via certified mail to

 both Plaintiffs confirming that $544.30 was required to bring their account current. Tarver Dec.

 ¶ 11, Exs. 7 & 8.

         34.     Both Plaintiffs received the notices. Buzzetta Dec. ¶ 7, Ex. 5 at p. 3.

         35.     Plaintiffs sent a Qualified Written Request to Freedom Mortgage on April 30,

 2018, in which Plaintiffs stated they believed the mortgage statements indicating they were

 delinquent “to be inaccurate.” Freedom Mortgage received the QWR on or about May 3, 2018.

         36.     Plaintiffs admit that they did not dispute the outstanding amount required to bring

 the account current with Freedom Mortgage prior to this correspondence. Buzzetta Dec. ¶ 3, Ex.

 1 at 145:19-23.

         37.     Freedom Mortgage sent a letter acknowledging the request on May 4, 2018.

 Tarver Dec. ¶ 15; Ex. 9.

         38.     Freedom Mortgage responded to Plaintiffs on May 9, 2018, and forwarded a

 complete payment history for the account. Tarver Dec. ¶ 16, Ex. 10.

         39.     Plaintiffs filed the instant Complaint on November 6, 2018.

         40.     Plaintiffs offer no evidence which establishes that they were not in default and

 delinquent on their account since June 2017. Buzzetta Dec. ¶ 7, Ex. 5 at p. 19; Buzzetta Dec. ¶

 6, Ex. 4 at p. 22.

         41.     To date, the only evidence offered by Plaintiffs that they did not owe $599.30

 after June 2017 is to refer to a “Customer Account Activity.” Buzzetta Dec. ¶ 7, Ex. 5 at p. 20.

         42.     However, Plaintiffs fail to explain how that statement establishes that the balance

 was not owed. Buzzetta Dec. ¶ 3, Ex. 1 at 130:24-131:23.




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        43.     Plaintiffs offer no evidence which establishes that Freedom Mortgage’s reporting

 was inaccurate. Buzzetta Dec. ¶ 7, Ex. 5 at p. 19; Buzzetta Dec. ¶ 6, Ex. 4 at p. 21.

        44.     Plaintiffs entire contention that Freedom Mortgage’s credit reporting was

 inaccurate is based on their contention that Plaintiffs “contend that any time that Freedom

 [Mortgage] reported to the Credit Reporting Agencies that they were delinquent in the payment

 of their mortgage, the reporting was grossly inaccurate.” Buzzetta Dec. ¶ 6, Ex. 4 at p. 15-16.

        45.     Despite this dispute, Plaintiffs admit that their current credit scores of

 approximately 816 and 802 are exceptional. Buzzetta Dec. ¶ 3, Ex. 1 at 104:2-105:21.

 III.   ARGUMENT

        A.      Legal Standard for Motion for Summary Judgment Under Fed. R. Civ. P. 56

        Rule 56 of the Federal Rules of Civil Procedure allows a court to grant summary

 judgment where “there is no genuine issue as to any material fact and the movant is entitled to

 judgment as a matter of law.” Fed. R. Civ. P. 56(a). The moving party has the initial burden of

 informing the court of the basis for the motion and identifying those portions of the record that

 demonstrate the absence of a genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S.

 317, 323 (1986). A disputed fact is ‘material’ only if it would affect the outcome of the suit as

 determined by the substantive law. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

 For a dispute to qualify as “genuine,” the evidence must be such that “a reasonable jury could

 return a verdict in favor of the nonmoving party.” Id. In determining whether an issue of fact

 exists, the court must view the evidence and inferences drawn therefrom in the light most

 favorable to the nonmoving party. Shealy v. Winston, 929 F.2d 1009, 1011 (4th Cir. 1991).

        Once the moving party has met its burden, the nonmoving party must affirmatively

 demonstrate with specific evidence that there exists a genuine issue of material fact requiring




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 trial. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586–87 (1986). The

 nonmoving party may not rest on the allegations or denials in his complaint or other pleadings,

 but must come forward with affidavits or other verified evidence showing that there is a genuine

 issue for trial. Celotex, 477 U.S. at 322; see also Williams v. Griffin, 952 F.2d 820, 823 (4th Cir.

 1991). Summary judgment is appropriate against a party who fails to make a showing sufficient

 to establish an essential element of the party's claim on which he will bear the burden of proof at

 trial. Celotex, 477 U.S. at 322.

        B.      Plaintiffs’ FCRA Claim Fails As A Matter Of Law.

        Plaintiffs allege that Freedom Mortgage violated § 1681s-2(b) in two ways.               First,

 Plaintiffs claim that Freedom Mortgage failed to conduct a reasonable investigation of their

 dispute and correct inaccurate information it furnished about their account. Second, Plaintiffs

 allege that Freedom Mortgage violated the statute by not marking their account as disputed after

 it received notice of the disputes they submitted to the CRAs. As demonstrated in the sections

 that follow, Freedom Mortgage is entitled to summary judgment on Plaintiffs’ claims because

 they fail as a matter of law.

                1.      Plaintiffs’ Claim For Alleged Failure To Conduct A Reasonable
                        Investigation Is Not Viable Because Freedom Mortgage Furnished
                        Factually Accurate Information About Plaintiffs’ Account.

        The FCRA requires furnishers of credit information, such as Freedom Mortgage, to

 provide accurate information to credit reporting agencies, to correct inaccuracies, and to

 investigate disputed information upon notice from a credit reporting agency. See 15 U.S.C. §

 1681s-2(b). To prevail on a claim against a furnisher under 15 U.S.C. § 1681s-2(b), a plaintiff

 must prove, inter alia, that the furnisher failed conduct a reasonable investigation after it received

 notice of a dispute. Harrell v. Caliber Home Loans, Inc., 995 F. Supp. 2d 548, 554 n.4 (E.D. Va.




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 2014). A furnisher has no liability under the FCRA merely for providing inaccurate information.

 Id. (the FCRA does not provide a “private right of action for a credit furnisher's alleged failure

 to report accurate information.”) Plaintiffs bringing a § 1681s-2(b)(1) claim must show that “the

 furnisher provided inaccurate information.” Perry v. Toyota Motor Credit Corp., 1:18-cv-34,

 2019 WL 332813, at *7 (E.D. Va. Jan. 25, 2019). Rather, liability can only attach if the

 furnisher “failed to conduct a reasonable investigation of a consumer's dispute after being

 notified of a dispute directly by a credit reporting agency.” Harrell, 995 F. Supp. 2d at 554 n.4.

 The burden of showing the investigation was unreasonable is on the plaintiff. Chiang v. Verizon

 New England, Inc., 595 F.3d 26, 37 (1st Cir. 2010).

        Because the FCRA is designed to prevent the “compilation and dissemination of

 inaccurate credit information,” a plaintiff cannot prevail on a claim against a furnisher for failure

 to conduct a reasonable investigation without first making “a showing of actual inaccuracy” in

 the factual information the furnisher supplied. Chiang, 595 F.3d at 38; see also Alston v. Wells

 Fargo Home Mortgage, No. 13-1347, 2016 WL 816733 at *3 (D. Md. Feb. 26, 2016) (entering

 summary judgment in favor of a furnisher because information provided to CRAs was factually

 accurate).   A plaintiff therefore must offer evidence that the furnisher provided inaccurate

 information to state a viable claim. Wadley v. Ford Motor Credit Co., 397 F. Supp. 2d 781, 783

 (E.D. Va. 2005) (granting summary judgment where plaintiff failed to allege any inaccuracy in

 the credit reporting); see also Kelly v. SunTrust Bank, No. 3:14-cv-121, 2016 WL 775781, at *4-

 5 (E.D. Va. Feb. 25, 2016) (granting summary judgment where plaintiff failed to establish that

 delinquent reporting was inaccurate). Where a plaintiff is delinquent in the months in which a

 furnisher reports him delinquent, summary judgment is appropriate on a § 1681s-2(b) claim.

 Kelly, 2016 WL 775781,. at *5.




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        Applying this well-established law, courts in this Circuit routinely hold that the

 furnishing of factually accurate information, in and of itself, is dispositive of a claim brought by

 a plaintiff claiming that the furnisher failed to conduct a reasonable investigation. See Id.,

 Wadley v. Ford Motor Credit Co., 397 F. Supp. 2d 781, 783 (E.D. Va. 2005) (granting summary

 judgment where plaintiff failed to allege any inaccuracy in the credit reporting); Alston v. Wells

 Fargo Home Mortgage, No. 13-1347, 2016 WL 816733 at *3 (D. Md. Feb. 26, 2016) (entering

 summary judgment in favor of a furnisher because information provided to CRAs was factually

 accurate); Adams v. Applied Business Security, Inc., No. 2:17-cv-527, 2018 WL 999678 at *4 n.3

 (E.D. Va. Feb. 21, 2018) (confirming that accuracy is a defense to 1681s-2(b) claims); Haynes v.

 Navy Federal Credit Union, 52 F. Supp. 3d 13, 20 (D. D.C. 2014) (granting summary judgment

 in favor of a furnisher on a FCRA claim where the reported information was accurate); Short v.

 Experian Information Sys., Inc., No. 2:16-cv-09294, 2017 WL 2296887 at *3 (S.D. W. Va. May

 25, 2017) (noting that a borrower must make a claim that the credit reporting information is

 inaccurate or incomplete).

        It also is well-settled that to prove the requisite factual inaccuracy under the FCRA, the

 plaintiff must make a “showing [of] factual inaccuracy, rather than the existence of disputed

 legal questions.” See Chiang, 595 F.3d at 38 (emphasis in original).           This is so because

 “furnishers are neither qualified nor obligated to resolve matters that “turn[ ] on questions that

 can only be resolved by a court of law.” Id. (internal citations and quotations omitted). Courts

 thus routinely enter summary judgment in favor of a furnisher when the information it provided

 was factually accurate and the alleged inaccuracy is based merely on a disputed legal question.

 Garland v. Marine Credit Union, Civ. A. No. 18-C-270, 2018 WL 5313769 at *4 (E.D. Wisc.

 Oct. 26, 2018) (summary judgment in favor of furnisher because “the dispute in this case is not




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 over a factual inaccuracy in Defendants’ reporting but rather a legal dispute regarding the impact

 the Chapter 128 proceeding had on Garland’s debt overall.”); Alston, 2016 WL 816733 at *3

 (summary judgment in favor of furnisher because information it supplied was factually accurate

 and furnisher was not required to resolve disputed legal issue). 3

          Here, the Court should enter summary judgment in favor of Freedom Mortgage because

 the information it furnished about Plaintiffs’ account was factually accurate. Plaintiffs failed to

 pay the increased monthly payments from January 2016 through May 2017. Statement of

 Undisputed Facts at ¶¶ 11-17.              Those insufficient payments resulted in a $559.30 balance

 required to bring Plaintiffs’ account current as of June 2017. Id. at ¶¶ 22, 28, 31. Freedom

 Mortgage notified Plaintiffs and their counsel of this outstanding balance, and neither raised a

 concern. Id. at ¶¶ 22-27. Freedom Mortgage therefore accurately notified the CRAs that

 Plaintiffs were delinquent. Despite receiving multiple written notices from Freedom Mortgage

 regarding the outstanding amount and the resulting delinquency, Plaintiffs failed to pay a

 sufficient amount to bring their account current. Id. at ¶¶ 31-34.                    Based on these undisputed

 facts, Freedom Mortgage cannot, as a matter of law, have any liability to Plaintiffs under the

 FCRA. The information Freedom Mortgage furnished was factually accurate because Plaintiffs

 were delinquent on their mortgage loan. Consequently, Freedom Mortgage has no liability under

 the FCRA for failure to conduct a reasonable investigation because the information it furnished



 3
   Hunt v. JP Morgan Chase Bank, N.A., No. 17-cv-62094, 2018 WL 1183357 at *4 (S.D. Fl. Feb. 26, 2018)
 (granting motion to dismiss in favor of furnisher because claim involved a disputed legal issue and not a factual
 inaccuracy); Leones v. Rushmore Loan Mgmt. Servs, LLC, Civ. A. No. 17-CV-61216, 2017 WL 6343622 at *3 (S.D.
 Fl. Dec. 11, 2017) (same); Herrell v. Chase Bank USA, N.A., 218 F. Supp. 3d 788, 793 (D. Wis. 2016) (summary
 judgment in favor of furnisher because dispute involved a contested legal issue, not a factual inaccuracy); Zahran v.
 Bank of America, N.A., No. 15-1968, 2016 WL 826402, at * (N.D. Ill. Mar. 3, 2016) (dismissing FCRA claim
 against furnisher because “[i]t is clear from plaintiffs' allegations that the dispute in this case, as in Chiang, is not
 over factual inaccuracies; it is over how defendant or its predecessors interpreted certain transactions or agreements
 with plaintiffs.”).




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 about Plaintiffs’ account was factually accurate. Chiang, 595 F.3d at 38; Alston, 2016 WL

 816733 at *3.

        Simply put, Plaintiffs’ claim against Freedom Mortgage under the FCRA cannot

 withstand summary judgment because it does not arise from the reporting of factually inaccurate

 information. Rather, Plaintiffs’ FCRA claim, at best, is based on their contention that Freedom

 Mortgage billed improper amounts. However, Plaintiffs have offered no evidence in support of

 this claim.




                                                                 Accordingly any disagreement by

 Plaintiffs with the amount due as of June 2017 does not give rise to a factual inaccuracy under

 the FCRA.       As such, it does not give rise to a claim for failure to conduct a reasonable

 investigation under the FCRA. See Chiang, 595 F.3d at 38; see also Alston, 2016 WL 816733 at

 *3.

        In sum, Plaintiffs’ FCRA claim against Freedom Mortgage for failure to conduct a

 reasonable investigation fails as a matter of law. Plaintiffs cannot dispute that as a factual matter

 they were delinquent on their account as of July 2017 and Freedom Mortgage furnished

 information to the CRAs reporting that they were delinquent during this time period. Freedom

 Mortgage thus can have no liability to Plaintiffs under the FCRA as a matter of law.




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 Accordingly, the Court should enter summary judgment in favor of Freedom Mortgage and

 against Plaintiffs.

                 2.      Plaintiffs’ FCRA Claim Based On Alleged Failure To Mark Their
                         Account Disputed Also Is Without Merit.


         Plaintiffs also allege that Freedom Mortgage violated the FCRA because it did not mark

 their account disputed after it received notice of the dispute from the CRAs. According to

 Plaintiffs, Freedom Mortgage was required under 15 U.S.C. § 1681s–2(a)(3) to mark their

 account disputed.     That provision provides that “[i]f the completeness or accuracy of any

 information furnished by any person to any [CRA] is disputed to such person by a consumer, the

 person may not furnish the information to any [CRA] without notice that such information is

 disputed by the consumer.” 15 U.S.C. § 1681s–2(a)(3).

         Although there is no private right of action under 15 U.S.C. § 1681s–2(a)(3), courts have

 found that a furnisher’s failure to comply with its requirements can give rise to liability under 15

 U.S.C. § 1681s-2(b). Saunders v. Branch Banking and Trust Co. of Virginia, 526 F.3d 142, 148-

 49 (4th Cir. 2008). A furnisher, however, is not required to mark an account disputed if the

 information it provided is factually accurate and the dispute is neither meritorious nor bona fide.

 Gorman v. Wolpoff & Abramson, LLP, 584 F.3d 1147, 1163 (9th Cir. 2009) (“[A] furnisher does

 not report “incomplete or inaccurate” information within the meaning of § 1681s–2(b) simply by

 failing to report a meritless dispute . . . . It is the failure to report a bona fide dispute, a dispute

 that could materially alter how the reported debt is understood, that gives rise to a furnisher’s

 liability under § 1681s–2(b).”); see also Bauer v. Target Corp., No. 8:12-cv-978, 2013 WL

 12155951 at *10 (M.D. Fla. June 19, 2013) (“[I]f the furnisher is reporting accurate information




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 and the consumer’s dispute is neither meritorious nor bona fide, the furnisher has no duty to

 report a dispute.”).

         Here, Plaintiffs’ claim that Freedom Mortgage is liable under the FCRA for failure to

 mark their account as disputed is without merit. As demonstrated in section III.B.1 supra, the

 information Freedom Mortgage furnished about Plaintiffs’ account was factually accurate. The

 dispute that Plaintiffs raised does not, because it cannot, challenge or change the factual accuracy

 of the furnished information. Rather, Plaintiffs merely alleged, without supporting evidence, that

 they were not delinquent on their account.        However, wishing did not make it so.           As

 demonstrated, Plaintiffs failed to bring their account current as of June 2017. Indeed, Plaintiffs

 failed to provide sufficient payments beginning in January 2016 after failing to pay the required

 increased interest and escrow as required under the Note and Deed of Trust. As such, Freedom

 Mortgage had no obligation to mark Plaintiffs’ account as disputed because the information it

 furnished was accurate and Plaintiffs did not raise or submit a meritorious or bona fide dispute.

 The Court should therefore enter summary judgment on Plaintiffs’ claim under the FCRA based

 on Freedom Mortgage’s alleged failure to mark their account as disputed.

                 3.     Plaintiffs’ FCRA Claim Fails Because Freedom Mortgage Conducted
                        A Reasonable Investigation.


         Even if Plaintiffs could establish an inaccuracy in Freedom Mortgage’s reporting, their

 FCRA claim would still fail, as Freedom Mortgage conducted a reasonable investigation. The

 FCRA does not specifically define “reasonable reinvestigation.” See 15 U.S.C. §§ 1681i(a)(1),

 1681s-2(b)(1)(A). Nonetheless, numerous courts have held that where CRAs and furnishers

 follow the ACDV process, they have conducted a reasonable reinvestigation. Saunders v. Branch

 Banking & Trust Co., 526 F.3d 142, 151 (4th Cir. 2008) (detailing the seriousness with which




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 CRAs take ACDVs); Dickens v. Trans Union Corp., 18 Fed.Appx. 315, 319 (6th Cir. 2001)

 (denying a FCRA claim where the furnisher and CRAs followed the ACDV process). When the

 information provided to a furnisher suggests that a consumer is disputing a debt generally,

 without specific claims as to why a reported debt is inaccurate, the furnisher satisfies its duty to

 conduct a reasonable investigation by verifying that the information in its records is identical to

 that provided by a credit reporting agency. Alston v. Trident Asset Management, LLC, No. 18-

 575, 2019 WL 2525378, at *4 (D. Md. June 18, 2019). Where a furnisher responds to the

 dispute with the ACDV process and their investigation confirms accurate reporting, a furnisher

 has conducted a reasonable investigation, and summary judgment in favor of the furnisher is

 warranted. Kelly v. SunTrust Bank, No. 3:14-cv-121, 2016 WL 775781, at *4 (E.D. Va. Feb. 25,

 2016).

          Here, as was the case in Kelly, Freedom Mortgage accurately reported the delinquent

 account. Freedom Mortgage was notified of Plaintiffs’ dispute from the CRAs through the

 ACDV process. Compl. ¶¶ 48-55. As part of the ACDV process, Freedom Mortgage reviewed

 the dispute which merely stated that Plaintiffs had not been late with a payment, and were not

 delinquent. Freedom Mortgage conducted an investigation of Plaintiffs’ account, including a

 review of the payment history. The investigation confirmed the delinquent status and Plaintiffs

 failure to bring the account current after June 2017. Freedom Mortgage further reviewed the

 credit reporting which accurately reflected the 30 days delinquent status since that time.

 Accordingly, Freedom Mortgage confirmed its reporting to the CRAs. There is no evidence that

 Freedom Mortgage acted unreasonably in this process. Plaintiffs cannot sustain a claim under

 the FCRA for failure to mark their account as disputed, as there was no bona fide dispute.




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        C.      Plaintiffs’ RESPA Claim Against Freedom Mortgage Fails As A Matter of
                Law.


        Plaintiff alleges in Count IV of the Complaint that Freedom Mortgage purportedly

 violated RESPA by: (1) failing to timely conduct an appropriate investigation of Plaintiffs’

 inquiries; (2) failing to conduct any investigation whatsoever regarding Plaintiffs’ inquiries; (3)

 failing to timely provide Plaintiffs with a true and accurate written explanation of clarification of

 Plaintiffs’ legitimate questions regarding their loan; and (4) continuing to report information

 regarding allegedly overdue payments to the national credit bureaus.. Compl. ¶ 80.

        As a threshold matter, 12 U.S.C. §2605 does not provide a private right of action for the

 conduct Plaintiff complains of with the exception of his claim that Freedom Mortgage did not

 properly investigate and respond to his QWR. 12 U.S.C. §2605. Under 12 U.S.C.§ 2605(e)(2), a

 servicer must respond to a qualified written request from a borrower within 30 days of receipt.

 Specifically, the servicer is required:

                after conducting an investigation, [to] provide the borrower with a
                written explanation or clarification that includes—(i) to the extent
                applicable, a statement of the reasons for which the servicer
                believes the account of the borrower is correct as determined by
                the servicer; and (ii) the name and telephone number of an
                individual employed by, or the office or department of, the servicer
                who can provide assistance to the borrower.

 12 U.S.C. § 2605(e)(2)(B).

        To state a claim under 12 U.S.C. § 2605(e)(2)(B), the plaintiff must demonstrate that: (1)

 a QWR was made; (2) the servicer failed to perform its duties under RESPA in response to the

 QWR; and (3) the plaintiff suffered damages. Conant v. Wells Fargo Bank, N.A., 60 F. Supp. 3d

 99, 114 (D. D.C. 2014). Under 12 U.S.C. § 2605(f), a borrower may recover its actual damages

 suffered as a result of a RESPA violation and “any additional damages” in an amount not to




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 exceed $2,000.00 per borrower as statutory damages, “in the case of a pattern or practice of

 noncompliance with the requirements of this section[.]”

        Here, Plaintiffs’ RESPA claim fails because (1) Freedom Mortgage properly performed

 its duties in responding to Plaintiffs’ QWR; (2) Plaintiffs fail to establish damages were caused

 by a RESPA violation; (3) Plaintiffs cannot recover statutory damages having failed to establish

 actual damages; and (4) Plaintiffs fail to establish a “pattern or practice” of non-compliance by

 Freedom Mortgage.

                1.      Freedom Mortgage’s Conduct Complied With RESPA.

        To state a claim for a violation of RESPA’s QWR provisions, the plaintiff must

 demonstrate that the servicer failed to perform its duties under RESPA in responding to the

 QWR. Conant v. Wells Fargo Bank, N.A., 60 F. Supp. 3d 99, 114 (D. D.C. 2014); Barr v.

 Flagstar Bank, FSB, 303 F. Supp. 3d 400, 417 (D. Md. 2018). In responding to a QWR, a

 servicer fulfills its duties if it provides a borrower with a written explanation of why the servicer

 believes the account of the borrower is correct. Bates v. JPMorgan Chase Bank, N.A., 768 F.3d

 1126, 1135 (11th Cir. 2014) (affirming judgment that there was no RESPA violation where a

 servicer returned payments because they were not certified funds and explained to the borrower

 in response to the QWR why it had returned payments).       Here, the undisputed facts confirm that

 Freedom Mortgage complied with RESPA by timely responding with the requested materials

 which confirmed why Freedom Mortgage believed the account was correct.

        Freedom Mortgage received the QWR on May _, 2018.                 Statement of Undisputed

 Material Facts at ¶ _. The QWR requested a detailed payment history. at ¶ __. Plaintiffs allege

 that Freedom Mortgage failed to respond. Compl. ¶ 79. However, Plaintiffs plead that Freedom

 Mortgage failed to respond to a May 2016 QWR. Id. ¶ 78.




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                                                                           To the extent Plaintiffs

 allege Freedom Mortgage failed to respond to the April 2018 QWR, such allegations have been

 flatly contradicted by the facts. Further, as demonstrated, Plaintiffs’ did not have a bona fide

 dispute over their delinquent status, having failed to make payments to bring the account current.

         Freedom Mortgage responded on May 3, 2018, that was reviewing the request.

 Statement of Undisputed Material Facts at ¶ 35. Freedom Mortgage then replied on __ and

 included a detailed payment history. Id. at ¶ 38. This response categorically responded to

 Plaintiffs’ QWR which only disputed whether Freedom had “properly applied payments” and

 whether the account was delinquent. Plaintiffs offer no evidence that Freedom Mortgage’s

 response was deficient or in some way supports the inference that Freedom Mortgage failed to

 conduct any investigation.    Indeed, as demonstrated, any investigation would simply have

 confirmed the delinquent status of Plaintiffs account.

         When Freedom Mortgage provided Plaintiffs with the payment history it was in full

 compliance with its obligations under RESPA in responding to the QWR. A Plaintiff’s RESPA

 claim should be dismissed if the servicer responded to the QWR and Plaintiff’s only basis to

 challenge the response is a disagreement with the investigation’s results. McCray v. Bank of

 Am., Corp., No. 14-02446, 2015 WL 3487750, at *11 (D. Md. June 1, 2015). That is what

 Plaintiffs are attempting in this case.    Plaintiff disputed the application of payments and

 delinquent status    Freedom Mortgage responded with the payment history confirming the

 application of all payments, which failed to bring the account current. Plaintiffs cannot maintain

 a claim that Freedom Mortgage failed to adequately respond to the QWR and the RESPA claim

 fails as a matter of law.




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               2.      Plaintiffs Have No Actual Damages Under RESPA.

        To prevail on a claim under RESPA for actual damages, a plaintiff must show that the

 alleged “actual damages that she incurred were a result of the RESPA violation.” Eslick v.

 Cenlar, No. 2:17-cv-381, 2017 WL 4836541 at*3 (E.D. Va. Oct. 3, 2017). (quoting Combs v.

 United States Bank. Nat’l Ass’n, No. 1:17-cv-545, 2017 WL 2805494 (E.D. Va. June 28, 2017)

 (emphasis in original); see also Offiah v Bank of America, N.A., No. 13-2266, 2014 WL

 4295020, at *3 (D. Md. Aug. 29, 2014); Radisi v. HSBC Bank USA, Nat. Ass’n, No. 5:11-cv-125,

 2012 WL 2155052, at *5 (W.D. N.C. June 13, 2012); Willis v. Bank of Am. Corp., No. 13–

 02615, 2014 WL 3829520, at *31 (D. Md. Aug. 1, 2014)). Thus, it is not enough for a borrower

 to simply claim to have suffered damage. Rather, the borrower must allege that the damages

 were caused by the specific alleged RESPA violation at issue. Eslick, 2017 WL 4836541 at *4.

        Here, Plaintiffs do not provide any facts to show they were damaged as a result of

 Freedom Mortgage’s response to the QWR. Indeed, Plaintiffs disputed their account status with

 the CRAs before even receiving Freedom Mortgage’s response.

        Plaintiffs contend their damages include “loss of credit, damage to reputation,

 embarrassment, humiliation and other mental and emotional distress.” Compl. ¶ 81. But these

 are the damages that Plaintiffs seek to recover based on the allegedly inaccurate information to

 the CRAs. Plaintiffs do not, because they cannot, tie these damages to Freedom Mortgage’s

 response to their QWR, which merely provided documents and information that Plaintiffs

 requested. Because there is no casual connection between the alleged damages Plaintiffs seek to

 recover and Freedom Mortgage’s alleged failure to properly respond to their QWR, Plaintiffs’

 claim for actual damages under RESPA fails. See Offiah, 2014 WL 4295020, at *3 (holding

 plaintiffs could not show a causal connection between their alleged damages for “physical and




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 mental problems out of fear that they will be evicted (for having defaulted on their mortgage

 loan)” and the defendant’s purported failure to respond to their QWR.)

                3.      Plaintiffs’ Lack of Actual Damages Under RESPA Also Dooms Their
                        Claim For Statutory Damages.


        Plaintiffs’ lack of actual damages caused by a RESPA violation also requires the

 dismissal of their claim for statutory damages. To prevail on a claim under RESPA for statutory

 damages, the plaintiff must, inter alia, to show that he suffered actual harm. See, e.g., Mejia v.

 Ocwen Loan Servicing, LLC, 703 F. App’x 860, 864–65 (11th Cir. 2017) (requiring a concrete

 injury, in part because “the use of ‘additional’” at § 2605(f)(1) ‘seems to indicate that a plaintiff

 cannot recover pattern-or-practice damages in the absence of actual damages.’”) (quoting

 Renfroe v. Nationstar Mortg., LLC, 822 F.3d 1241, 1247 (11th Cir. 2016)); Batton, 2016 WL

 6090955, at *2 (noting that “the statute requires that a plaintiff suffer ‘actual damages’ before he

 or she may recover any statutory damages or attorney’s fees and costs.”) (citations omitted);

 Vaughan v. Wells Fargo Bank, N.A., No. 6:15-CV-00038, 2016 WL 2901752, at *4 (W.D. Va.

 May 18, 2016) (dismissing RESPA action in part because plaintiffs did not allege a pattern or

 practice and actual damages allegations were conclusory), appeal dismissed, 669 F. App’x 186

 (4th Cir. 2016); Figueroa v. HSBC Bank USA, N.A., No. 1:16-CV-0893, 2017 WL 1185263, at

 *7 (N.D. N.Y. Mar. 29, 2017 (“Several courts have held that ‘proof of actual damages is

 mandatory to recover on a § 2605(e) violation, and . . . a § 2605(e) claim cannot stand on

 statutory damages alone.’”).

        Because Plaintiffs cannot establish they suffered actual damages as a result of Freedom

 Mortgage’s response to Plaintiffs’ QWR, Plaintiffs’ claim for statutory damages also fails. The

 Court should enter summary judgment in favor of Freedom Mortgage for this additional reason.




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                  4.     Plaintiffs Have Not Established a Pattern and Practice.

           Finally, to recover statutory damages under RESPA, the plaintiff must, inter alia, prove

 that the conduct at issue was part of a “pattern and practice” of the defendant. 12 U.S.C. §

 2605(f).     A RESPA claim for statutory damages fails when there is no evidence to show that

 “the alleged violations were the standard or routine way of operating for the allegedly non-

 compliant loan servicer.” Davis v. Deutsche Bank Nat’l Tr. Co., No. CV 16-5382, 2017 WL

 6336473, at *7 (E.D. Pa. Dec. 12, 2017) (quoting McLean v. GMAC Mortg. Corp., 595 F. Supp.

 2d 1360, 1365 (S.D. Fla. 2009)); Galante v. Ocwen Loan Servicing LLC, No. 13-1939, 2014 WL

 3616354, at *34 (D. Md. July 18, 2014) (dismissing claim for statutory damages under RESPA

 because single RESPA violation alleged did not demonstrate a pattern or practice); see also

 Perron on behalf of Jackson v. J.P. Morgan Chase Bank, N.A., 845 F.3d 852, 858 (7th Cir. 2017)

 (“Two examples of similar behavior—in different states, separated by a handful of years, and

 with no evidence of coordination—isn’t enough to support recovery of statutory damages.”) Id.

 at 858.

           Here, Plaintiffs have come forward with no evidence to support their allegations of

 “pattern and practice.” See Compl. at Count V. There are no facts in the record to show that

 Freedom Mortgage engaged in a “pattern and practice” of violating RESPA. As such, the Court

 should enter summary judgment in favor of Freedom Mortgage on Plaintiffs’ RESPA claim for

 statutory damages.

 IV.       CONCLUSION

           For all the foregoing reasons, the Court should enter summary judgment in favor of

 Defendant, Freedom Mortgage Corporation, and against Plaintiff on Counts III and IV for

 alleged violation of the FCRA and Count V for alleged violation of RESPA.




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                                    Respectfully submitted,


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